1. Authority for the operation of common schools is by law vested in the county boards of education; and such authority in respect to the maintenance and operation of the schools as the law gives to school trustees, including those in districts levying a local tax, is subject to the authority of the county boards. The 1932 amendment of article 8, section 4, paragraph 1, of the constitution (Code, § 2-6901), authorizing county boards of education, independent school systems, and local school districts to make contracts with each other for the education, transportation, and care of children of school age, confers authority upon school district trustees to make such contracts subject to the existing law, and hence subject to the approval of the county board of education.
2. The trustees of a local school district are entitled to the custody of local tax funds raised in the manner provided in chapter 32-11 of the Code; and where the treasurer of such district is bonded as required by law, the county board of education is not entitled to hold the same. In the present case it was not error to direct the board to pay over such funds to the bonded treasurers of the local school districts.
                 Nos. 14223, 14236. SEPTEMBER 25, 1942. *Page 599 
Roy W. Downer, R. V. Stephens, and A. D. Simpson, as trustees of the local school district known as the Enterprise School District, and J. R. Flanigan, C. A. Highnote, and C. A. Simonton, as trustees of the school district of Webster County, known as the Seminole School District, brought their petition against Paul Stevens as superintendent of county schools of Webster County, and against the Webster County Board of Education, said board composed of Cleveland Rees, chairman, and O. J. Stapleton, G. W. Bowers, R. A. Lowery, and William Pickett. The petition prayed for mandamus against the school superintendent and the members of the board of education. It was alleged, that the Enterprise school district and Seminole school district were local tax districts, and were laid out according to laws by the board of education of Webster County; that the trustees of said districts entered into a written contract with the trustees of the Richland school district of Stewart County (a copy of the contract being attached to the petition), in which contract it was agreed that the Richland school district in Stewart County would provide transportation for all of the children residing in the Enterprise and Seminole school districts of Webster County, and of school age, from the first grade to the eleventh grade, inclusive, to the Richland school in the Richland district, and provide for the teaching and education of all the children of school age from the Seminole and Enterprise districts of Webster County for the ensuing scholastic term of 1941 and 1942 in the Richland school at Richland school district; that the Richland school district in Stewart County is the district which levies a tax on the property of the school district as provided by law; that the Enterprise and Seminole districts are local tax districts in which a local tax is levied and collected by said districts; that in the contract made between the trustees of the Enterprise school district and the trustees of the Richland school district of Stewart County, the Richland school district should receive from the trustees of the named districts in Webster County, for the education and transportation and care of all the school children of the Enterprise and Seminole school districts, from the first grade through the eleventh grade, all the proceeds arising from a local tax levy of two and a half mills on the property located within the Enterprise *Page 600 
and Seminole school districts, and all other school money or school funds which may be by law provided or allotted to said Seminole and Enterprise school districts by the school authorities of the State, or by the board of Webster County, or from any other source which may be provided for the education and transportation for the school children of school age in the Seminole and Enterprise school districts, said contract ending on June 30, 1942, or so long as necessary to legally carry out the purposes of the contract.
Under the terms of the contract the Richland school district was to educate and transport said children from Enterprise and Seminole school districts, and provide equal school facilities and advantages afforded the other pupils attending the Richland school district. The Richland school district located in Richland, Georgia, is laid out according to law by the board of education of Stewart County, and said district has been teaching, educating, and transporting all of the children of school age residing in the Enterprise and Seminole school districts for the last 15 years or longer, and has taught and transported all the children from Seminole and Enterprise school districts during the last and present scholastic term. The Richland school in the Richland local tax district is a standard eleven-grade accredited school with properly qualified teachers, and maintaining a course of study conforming to standards prescribed by the school authorities, with buildings, teaching equipment, and other school facilities; said school having gymnasium, library facilities, lunch-room and well-equipped department-teaching vocational work in agriculture, home economics, and typing, all teachers in said school and said school meeting all the requirements of the school laws of this State, and the State Board of Education and County Board of Education of Stewart County, from the first through the eleventh grade.
The contract made on June 13, 1941, between the trustees of the Richland school district and the trustees of the Seminole and Enterprise school districts of Webster County was entered into under and by virtue of the State constitution, art. 8, sec. 4, par. 1, which provides that county boards of education, independent school systems, and local school districts may contract with each other for the education, transportation, and care of children of school age.
The county board of education has refused to pay over to the trustees of the Enterprise and Seminole districts any money whatever *Page 601 
from any source, although the county board levied a county-wide tax of five mills on all the property of the county, including Seminole and Enterprise districts, and has collected and received from the tax-collector the local tax levied by the trustees of the Seminole and Enterprise districts on the property in said districts, and is withholding the same from the trustees of said school, and has refused to allot or distribute any of the school moneys set apart and allocated by the State Board of Education to said county board for the purpose of educating and transporting the children of the Enterprise and Seminole districts.
The petition for mandamus prayed, that the county board of education and Paul Stevens, county school superintendent of Webster County, be required to pay over, designate, and allot and distribute the taxes and school funds to which the Seminole and Enterprise districts are entitled by the laws of this State and by the rules of distribution fixed and established by the county board of education of Webster County in the distribution of the funds received by said county board for educational purposes from all sources, and without discrimination, and in accordance with the rules, provisions, and policies of said county board in allotting, distributing, and paying out said school funds, for educational purposes, to the various school districts of said county, and for transportation of the children and in accordance with the rules of allotment and distribution now in force by the county board of education in distributing the school funds among the several school districts; and that the said county board be required to perform their duties without discrimination against the taxpayers, patrons, and school children of the Enterprise and Seminole districts.
The defendants demurred generally and specially. On the hearing the judge entered the following judgment:
"When the above-stated cause came on for a hearing it was agreed by all parties to the record that the pleadings raised no issue of fact, and that only questions of law as raised by defendant's demurrer were involved in determining whether mandamus absolute should be granted. It appears that for a number of years no schools have been conducted in either of the two local school districts involved in this controversy, and that during those years the eligible school children of the two districts have attended the Richland, Georgia, schools in Stewart County; that all during those *Page 602 
years of attendance, except the term for 1941-1942, the Richland school provided this service under an arrangement with the local trustees of the two districts and acquiesced in by the board of education of Webster County. It appears that prior to the opening of the 1941-1942 term of school at Richland, the board of education of Webster County gave notice to the authorities of the Richland school and to the trustees of the two districts that said board had prepared to transport the pupils to the public school at Preston in Webster County, and there give them school advantages, and that therefore the board would no longer approve any arrangement with the Richland schools. It appears that notwithstanding such position taken by said board of education the pupils are attending the Richland school, and this petition for mandamus is brought to require the board to pay over the quota of the school moneys which should go to the two districts. Complainants contend that by virtue of the constitutional amendment of 1932, permitting county boards of education, independent school systems, and local school districts to contract with each other for the education and care of children of school age, it is the duty of the board of education of Webster County to turn over to the trustees, and in turn turned over by them to the Richland school, the quota of school moneys to which those districts would be entitled, including a local tax levied and collected in those districts.
"While in Georgia a State-wide system of public schools is conducted, the control and government of such schools in the several counties comprising the State have been largely delegated to county boards of education organized for each county. Essentially, to the efficient carrying on of so important an enterprise to our civic advancement, there must be some governing form or organization; and it is clear that for the schools of each county this governing authority has been placed in the respective county boards of education. Each county is divided into local school districts, and local trustees for the local schools have been provided for, who have such authority only as has been delegated to them. County boards of education were functioning long before the constitutional amendment referred to; and to so construe that amendment as to hold that it would authorize local trustees to contract at will with reference to school attendance, over the objection of the county board of education, would make it possible for the school system of the *Page 603 
county or counties to be so crippled as to destroy the efficiency of its schools. It is therefore ruled that the local trustees were without authority, without the concurrence of the board of education of Webster County, to make the contract as set out in the petition; and hence mandamus absolute is hereby denied, except that the court holds that the trustees (their treasurers being bonded) were entitled to have the local tax money which appears to be in the hands of the local board of education turned over to them; and mandamus absolute is granted as applicable to that local tax only."
To the denial of mandamus absolute the plaintiffs excepted. To the ruling that the trustees were entitled to have the local tax money in the hands of the local board of education turned over to them, and that mandamus absolute be granted as to the local tax, the defendants filed a cross-bill of exceptions.
1. This court has repeatedly held that the law vests full power and authority for the operation of schools in the county boards of education. Carter v. Johnson,186 Ga. 167 (197 S.E. 258); Keever v. Board of Education ofGwinnett County, 188 Ga. 299 (3 S.E.2d 886); Davis v.Haddock, 191 Ga. 639 (13 S.E.2d 657); Bramlett v.Callaway, 192 Ga. 8 (14 S.E.2d 454). On this question the law is thus clearly fixed. The Code sections referred to in the cited decisions declare in one way or another this power and authority of the county boards of education. By the enactment, § 32-1126 of the Code, the General Assembly sought to eliminate the possibility of conflict between the authority of the county boards of education and that of the trustees of the school districts. We think the language of that section leaves no room for the trustees to challenge this authority of the boards of education. It is declared: "While it is the purpose and spirit of this Chapter [Local Tax for Public Schools] to encourage individual action and local self-help upon the part of the school districts, it is expressly understood that the general school laws as administered by the county board of education shall be observed." The instant case presents a challenge by district trustees of the authority of the county board of education, the trustees claiming for themselves the authority to make a contract with the trustees of a school in another county for the education of the *Page 604 
school children of their district, by virtue of the constitutional amendment of article 8, section 4, paragraph 1 (Code, § 2-6901), which was ratified in 1932. That amendment is as follows: "Provided, however, county boards of education, independent school systems, and local school districts may contract with each other for the education, transportation, and care of children of school age." The amendment confers upon both the county boards of education and the local school districts the authority to make the contracts there mentioned. Construing it literally, equal authority is conferred upon both. Certainly the trustees of the school district can claim under this amendment no authority superior to that which the amendment confers upon the boards of education. We think the constitutional amendment was not intended to and did not have the effect of changing or altering the relationship of the county boards of education and the trustees of the school districts. The superior authority of the county boards as then fixed by statute was not altered by this constitutional amendment. Effect must be given to the intent and purpose of a constitutional provision. It was clearly not the intention of those who framed this amendment, or of the people who ratified it, that it should cause confusion, conflict, and chaos in so vital a matter as the public schools of this State. To construe it to mean that the boards of education and the trustees of school districts are each thereby given unrestricted and supreme authority to make the contracts referred to would be to cause conflict in contracts, and a chaotic condition in all the schools of the State, which would be impossible of final solution because the contracts made by the county boards and those made by the trustees would be supported by the constitution and could not be avoided. On the other hand, the language of the amendment will allow a construction to the effect that such contracts as there authorized on the part of the local school districts must be executed in conformity with the existing law. Since under the law supreme authority for the operation of the schools is vested in the county board of education, all acts in this respect upon the part of the trustees must have the approval of the county board. This construction is consistent with the decision in Snipes v. Anderson, 179 Ga. 251
(175 S.E. 650), where the trustees had made a contract similar to that made by the trustees in the present case, and the petition of taxpayers of the district seeking to enjoin the execution *Page 605 
of the contract alleged that it violated stated portions of the constitution, and that it was made with the approval of the county school superintendent, but was silent on the matter of its approval by the county board of education. This court held that the petition was subject to general demurrer, and that by virtue of the constitutional amendment ratified in 1932 the trustees were authorized to make the contract, and that it was valid. No question as to the authority of the county board of education to disapprove such a contract, or of its validity when unauthorized by the county board of education, was there presented, and no ruling was made upon this question. That part of the judgment relating to the school funds in the hands of the county board of education, denying mandamus, is affirmed.
2. The question presented by the cross-bill, excepting to that portion of the judgment directing that the funds raised by local taxation be delivered to the trustees of the school districts, is one not involving the general school fund of the county. This fund is obtained by the method and procedure set out in the Code, chapter 32-11, and represents the voluntary action of the people of the local districts, and belongs exclusively to those districts. The provisions of the Code, §§ 32-1114, 32-1120, 32-1121, 32-1122, making it the duty of the tax-collector to keep separate such funds and to turn the same over to the treasurer of the local school district, if he has given bond as required by law, to be expended by the treasurer only on the order of the local board of trustees, or, if the treasurer has failed to give the required bond, to turn the funds over to the county board of education to be disbursed only on the order of the local trustees, clearly indicate the legislative intent that this local tax money not be subject to the control of the county board of education or any one other than the trustees of the school district in which they are levied and collected. The authority of the local trustees in expending such funds is subject, of course, to such restrictive provisions as are found in the law, which may be asserted in an appropriate proceeding. Since it appears in the instant case that the treasurers of the local districts were bonded as required by law, they were entitled to the custody of all local tax funds; and that portion of the judgment directing that such funds be paid to them was not error.
Judgment affirmed on both bills of exceptions. All theJustices concur. *Page 606 